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•m                                                                   PILED IN THE
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                   ORIGINAL                                   UNITED STATES DISTRICT COURT
                                                                   DISTRICT OF HAWAII
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                                                                 suebeitia.^rk^"^




                      IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF HAWAII


   MELVIN KEAKAKU AMINA AND DONNA                   Case No. CV 18-00143 DWK-KSC
   MAE AMINA,HUSBAND AND WIFE,                      (Breach of Contract)

                Plaintiffs,

                vs.



   WMC MORTGAGE CORP.; et al.,                        JUDGE: Hon. Derrick K. Watson

                Defendants.                           TRIAL: None Set.




    RESPONSE TO [14] DEFENDANTS JPMORGAN CHASE BANK,N.A., Individually and
        as Servicer of the JPMORGAN MORTGAGE ACQUISITION TRUST 2006-WMC2;
     JPMORGAN CHASE & CO.; J.P. MORGAN ACCEPTANCE CORPORATION I; J.P.
    MORGAN MORTGAGE ACQUISITION CORP.; J.P. MORGAN SECURITIES LLC; U.S.
         BANK NATIONAL ASSOCIATION,as Trustee for J.P. MORGAN MORTGAGE
            ACQUISITION TRUST 2006-WMC2, ASSET BACKED PASSTHROUGH
           CERTIFICATES,SERIES 2006-WMC2; MERSCORP HOLDINGS,INC. and
         MORTGAGE ELECTRONIC REGISTRATION SYSTEMS,INC.'S MOTION TO
        DISMISS PLAINTIFFS MELVIN KEAKAKU AMINA AND DONNA MAE AMINA'S
                        COMPLAINT FILED ON MARCH 15,2018
                ([26]-[27] joined by NATIONWIDE TITLE CLEARING,INC.)


          Plaintiffs Donna Mae Amina and Melvin Keakaku Amina respond to [14] DEFENDANTS

   JPMORGAN CHASE BANK,N.A., Individually and as Servicer ofthe JPMORGAN



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 MORTGAGE ACQUISITION TRUST 2006-WMC2;JPMORGAN CHASE & CO.; J.P.

 MORGAN ACCEPTANCE CORPORATION I; J.P. MORGAN MORTGAGE ACQUISITION

 CORP.; J.P. MORGAN SECURITIES LLC; U.S. BANK NATIONAL ASSOCIATION,as

 Trustee for J.P. MORGAN MORTGAGE ACQUISITION TRUST 2006-WMC2,ASSET

 BACKED PASSTHROUGH CERTIFICATES,SERIES 2006-WMC2; MERSCORP HOLDINGS,

 INC. and MORTGAGE ELECTRONIC REGISTRATION SYSTEMS,INC.'S MOTION TO

 DISMISS PLAINTIFFS MELVIN KEAKAKU AMINA AND DONNA MAE AMINA'S

 COMPLAINT FILED ON MARCH 15,2018("Motion")([26]-[27]joined by NATIONWIDE

 TITLE CLEARING,INC.).

        As a threshold matter. Nationwide was and is estopped from [26]-[27]Joining a Motion to

 Dismiss because Nationwide already filed an Answer in state court.

        The Motion has its own version ofthe facts, titled "SUMMARY OF BACKGROUND

 FACTS," however,on a Motion to Dismiss, the facts are to be drawn from the Complaint and

 viewed in the light most favorable to the non-moving party.

 THE CLAIMS COULD NOT HA VE BEEN BROUGHT EARLIER

        The Memorandum states on page 14:

        The Plaintiffs' claims in the current lawsuit are the same claims they brought in
        their First Lawsuit and Second Lawsuit or are claims that could have been brought
        in those actions.


 However,the Assignment was recorded on April 4,2012(signature date 3/22/2012). This was

 after the November 28,2011 filing date of the Second Lawsuit. Since the ONLY facts

 considered in a lawsuit are the facts that existed on the date of filing of the complaint in that

 lawsuit, no litigation about the Assignment could have occurred during the First or Second

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 Lawsuit.


        It is ONLY through the Assignment that the new defendant("U.S. Bank as

 Trustee...")claims privity with the previous defendant("MERS as nominee for WMC

 Mortgage Inc..."). However,there is a slew of problems with the Assignment,including that

 MERS as nominee for the defunct and successorless WMC did not have the authority to

 assign to US Bank as trustee (particularly without naming the successor)(and without

 paying consideration). Naturally, these problems could not properly have been addressed in

 the Second Lawsuit,as the Assignment did not exist on the date of filing of that lawsuit. The

 Current Lawsuit is the only one that may properly deal with the Assignment.

        In addition, every single one of the Defendants in the Current Case is new and

 different from the Defendants in the First Lawsuit and the Second Lawsuit. A Trustee is not

 the Trust.


        The Memorandum states on page 10:

        Based on the allegations raised in the current Complaint,there is no question that
        the Plaintiffs are asserting claims arising from the same property and mortgages
        that were at issue in the First Lawsuit and the Second Lawsuit.

 However,the legal description in the current Complaint is different from the legal

 description in the First and Second Lawsuit.

 QUIET TITLEIS NOTBARRED BYRES JUDICATA BECAUSE THE "FINAL"

 JUDGMENTIS VOID


        The Memorandum states on pages 16-19:

        Despite not prevailing on their two prior quiet title claims,the Plaintiffs have
        asserted a quiet title lawsuit once again in this current lawsuit.... [this] identical
        claim[][is] barred by res judicata.... the dismissals in both the First Lawsuit and
        the Second Lawsuit constitute dismissals on the merits.


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 However,the quiet title claim is NOT barred. The [164] Order in the Second Case, concluding that

 US Bank is the mortgagee and granting Summary Judgment on the Quiet Title claim against US

 Bank, is void, and the Sixth Cause of Action requests the Court to vacate it.

 THEREIS NO PRIVITYBETWEEN THEPARTIES

        Page 17 ofthe Memorandum cites Niutupuivaha v. Wells Fareo Bank. N.A.. which cites In

 re Dowsett Trust. 7 Haw. App.640,646, 791 P.2d 398,402(1990)for the proposition that under

 Hawai'i law, the "concept of privity has moved from the conventional and narrowly defined

 meaning of mutual or successive relationships to the same rights of property to merely a word used

 to say that the relationship between one who is a party of record and another is close enough to

 include that other within res judicata."

        However,this is circular reasoning, or a circular definition: in order to determine whether a

 party is close enough to be included within res judicata, we look to whether the parties are in

 privity; and the Dowsett court merely tells us that they are in privity if they are close enough.

 There are no facts or criteria to guide our inquiry.

        The Memorandum states on page 19:

        The instant litigation names the JPMorgan Mortgage Acquisition Trust 2006-
        WMC2,Asset Backed Pass-Through Certificates, Series 2006-WMC2. See Exhibit
        A. This party is the same party named in the Second Lawsuit except that the
        Plaintiffs neglected to reference U.S. Bank as the Trustee in the current case.

 However,the Trust is not the same entity as the Trustee, and they are not in privity. Plaintiffs did

 not "neglect" to name U.S. Bank; instead. Plaintiffs intended to name the Trust.

 A COURT MAYNOT TAKE JUDICIAL NOTICE OF THE TRUTH(OR FALSITY)OF

 PUBLICRECORDS


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         The Memorandum requests that Court take judicial notice of certain public records.

 However:


         For a fact to be Judicially noticed,"indisputability is a prerequisite." Hennessv v. Penril

 Datacomm Networks.69 F.3d 1344,1354(7th Cir. 1995). The power to judicially notice facts "is

 to be exercised by courts with caution.... Every reasonable doubt upon the subject should be

 resolved promptly in the negative." Brown v. Piper. 91 U.S. 37,42-43(1875).

         The Memorandum states:"Federal Rules of Evidence Rule 201 allows a court to take

 judicial notice of"a fact..." However,the Memorandum never requests the Court to take judicial

 notice of any facts.

         Similarly, the Memorandum states: "[i]n the context ofa motion to dismiss, a court may

 take judicial notice under Fed. R. Evid. 201 of'matters of public record'..."

         The factual "matters" appropriate forjudicial notice would be the existence ofthe public

 records in question, and the language used, but not the truth (or falsity) oftheir contents.

         "Taking judicial notice ofa document is not the same as accepting the truth of its contents

 or accepting a particular interpretation of its meaning." Joslin v. HA.S. Ins. Brokerage, 184 Cal.

 App. 3d 369, 374(1986)."[T]he taking ofjudicial notice ofthe official acts ofa governmental

 entity does not in and of itself require acceptance ofthe truth offactual matters which might be

 deduced there from, since in many instances what is being noticed, and thereby established, is no

  more than the existence ofsuch acts and not, without supporting evidence, what might factually be

 associated with or flow there from."(citations omitted). Mangini v. R. J Revnolds Tobacco Co.. 7

  Cal. 4111 1057, 1062(1994)(emphasis added). While courts can take judicial notice of public

 records, they do not take notice ofthe truth of matters stated therein. Love v. Wolf 226 Cal. App.

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 2d 3 78,403(1964). In addition,"when judicial notice is taken of a document... the truthfulness

 and proper interpretation ofthe document are disputable." StorMedia. Inc. v. Superior Court, 20

 Cal. 4111 449,457,fh. 9(1999). A California court considered the scope ofjudicial review of a

 recorded document in Poseidon Development. Inc. v. Woodland Lane Estates. LLC. 152

 Cal.App.4th 1106(2007):

        [T]he fact a court may take judicial notice of a recorded deed, or similar document,
        does not mean it may take judicial notice of factual matters stated therein. For
        example, the First Substitution recites that Shanley Ms the present holder of
        beneficial interest under said Deed of Trust.' By taking judicial notice of the First
        Substitution, the court does not take judicial notice ofthis fact, because it is hearsay
        and it cannot be considered not reasonably subject to dispute."(Id. at p. II17.)


 See also Lee v. Citv of Los Angeles. 250 F.3d 668,689-90(9th Cir. 2001)(holding that district

 court improperly took judicial notice of disputed facts recited within public record documents).
 This case was cited by the Memorandum (page 5)to support taking judicial notice of the

 facts recited within public record documents.

        "Courts may take judicial notice of publications introduced to 'indicate what was in the
 public realm at the time, not whether the contents ofthose articles were in fact true.'" Premier
 Growth Fund v. Alliance Capital Mamt..435 F.3d 396,401 n.15(3d Cir. 2001); accord Heliotrope

 Gen. Inc. v. Ford Motor Co.. 189 F.3d 971,981 n.l 18(9th Cir. 1999)(taking judicial notice "that

 the market was aware ofthe information contained in news articles submitted by the defendants.").

        "These publications meet the standards for admissibility set forth in Federal Rule of
 Evidence 201(b). Accordingly, we take judicial notice ofthem solely as an indication of what

 information was in the public realm at the time." Von Saher v. Norton Simon Museum of Art at

 Pasadena. 578 F.3d 1016, 1022(9th Cir. August 19,2009). Further,"the Museum fails to point to

 any authority which holds that a motion to dismiss based on a statute of limitations may be granted

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 on the basis offacts judicially noticed, rather than facts apparent on the face ofthe complaint....

 Unless it is clear that the complaint could not be saved by amendment, dismissal with prejudice
 and without leave to amend is not appropriate. Accordingly, Saher's complaint should not have

 been dismissed without leave to amend." Id. at 1031.

        In United States v. 14.02 Acres of Land,the District Court took judicial notice ofthe

 Department ofEnergy National Transmission Grid Study(May 2002), and

        "it referred to the report only as background material, without relying on it to
        resolve any factual dispute. We therefore conclude that the district court did not
        abuse its discretion in taking judicial notice ofthe DOE Study for the limited
        purpose for which the court considered it."
        The case of Disabled Rights Action Comm. v. Las Vegas Events. Inc., 375 F.3d 861, 866 n.

 1 (9th Cir 2004)was[107] dismissed with prejudice after[94] notice of voluntary dismissal by the
 plaintiff. On appeal, the key phrase is:

        [Defendant Las Vegas] Events has filed an unopposed motion forjudicial notice of
        an unredacted copy ofthe licensing agreement in effect at the time the district court
        ruled on the joinder motion, as well as ofthe current licensing agreement. We grant
        the motion. These licensing agreements are documents ofthe University System,a
        state entity.

 Footnote 1 ofDisabled Rights states:

        The district court record includes only a redacted License Agreement indicating that
        Events contracted with University System for permission to present the Rodeo at
        the Center every year from 1993 through 2000. The License Agreement that is
        currently in effect was not part ofthe district court record. Events has filed an
        unopposed motion forjudicial notice ofan unredacted copy ofthe licensing
        agreement in effect at the time the district court ruled on the joinder motion, as well
        as ofthe current licensing agreement. We grant the motion. These licensing
        agreements are documents ofthe University System,a state entity. Under Federal
        Rule ofEvidence 201, we may take judicial notice ofthe records of state agencies
        and other undisputed matters of public record. See Lee v. Citv ofLos Angeles,
        250 F.3d 668,689(9th Cir.2001)(explaining that a court may judicially notice
        matters of public record unless the matter is a fact subject to reasonable dispute);
        Kottle V. N.W. Kidnev Ctrs.. 146 F.3d 1056,1064 n. 7(9th Cir.1998)(holding that
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        state health department records were properly judicially noticed); Mack v. S. Bay
        Beer Distribs.. Inc.. 798 F.2d 1279,1282(9th Cir. 1986)(stating that a court may
        take judicial notice ofrecords and reports ofstate administrative bodies), overruled
        on other grounds by Astoria Fed. Sav. 8c Loan Ass'n v. Solimino. 501 U.S. 104,
        111 S.Ct. 2166,115 L.Ed.2d 96(1991).

 Disabled Rights relies on Lee v. Citv of Los Angeles, which reversed judicial notice:

        More importantly, the district court's decision to dismiss plaintiffs' federal claims
        was rooted in defendants' factual assertions. In granting defendants' motions,the
        [district] court assumed the existence offacts that favor defendants based on
        evidence outside plaintiffs' pleadings, took judicial notice of the truth of
        disputed factual matters, and did not construe plaintiffs' allegations in the light
        most favorable to plaintiffs. We therefore also reverse the district court's
        dismissal ofplaintiffs' § 1983 claims...

 At any rate, the proposition (that"a court may judicially notice matters of public record" such as

 deed oftrust, substitution of trustee, election to sell and other recorded documents) is ambiguous

 as it is not clear whether the Disabled Rights court took judicial notice ofthe "matters of public

 record"(i.e. the existence ofthe documents)or of the truth of their contents.

        To the extent that the contents of Defendants' documents are not alleged in the Complaint,

 the Branch rule does not apply to those documents. See Branch v. Tunnell 14 F.3d 449,453(9th

 Cir. 1994):

        ... documents whose contents are alleged in a complaint and whose authenticity
        no party questions, but which are not physically attached to the pleading, may be
        considered in ruling on a Rule 12(b)(6)...

 To "consider" means to examine a document (e.g. to determine whether it is defamatory), not to

 assume its contents true. Knievel v. ESPN.393 F.3d 1068 (9th Cir. 2005).

        Here, the contents ofthe documents at issue are not alleged in the Complaint, therefore the

 rule of Branch does not apply to those documents.

        The Court may take judicial notice of the dates, parties, and legally operative language of



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 these documents, but not the truth of various factual representations made in the documents.

 Permito v. Wells Fargo Bank.2012 WL 1380322,*2(N.D. Cal. Apr. 20,2012).

        The Ninth Circuit, in the 14.02 Acres case, stated:

        [10] The district court also did not abuse its discretion in taking judicial notice of
        the Department of Energy National Transmission Grid Study (May 2002)("DOE
        Study"), which was not included in the pleadings, and referring to it as background
        material in its order granting the government's motion for judgment on the
        pleadings.... Judicial notice is appropriate for records and "reports of administrative
        bodies." Interstate Natural Gas Co. v. S. Cal. Gas Co.. 209 F.2d 380, 385 (9th Cir.
        1954). The district court considered the DOE Study, which is clearly a "report[]of
        [an] administrative bod[y]." Id. Further, it referred to the report only as
        background material, without relying on it to resolve any factual dispute. We
        therefore conclude that the district court did not abuse its discretion in taking
        judicial notice of the DOE Study for the limited purpose for which the court
        considered it.


 The Ninth Circuit explicitly stated that its approval of the district court's judicial notice of the

 public record was because it "referred to the report only as background material, without relying

 on it to resolve any factual dispute." Here, by contrast. Defendants wish to use the disputed records

 to resolve a factual dispute.

        The extent ofthe discussion ofthis issue in Valasquez is:

        Pursuant to Federal Rule of Evidence 201, the court takes judicial notice of these
        documents as they are matters of public record. See W. Fed. Sav. v. Heflin, 797
        F.Supp. 790, 792(N.D. Cal.1992)(taking judicial notice of documents in a county
        public record, including deeds of trust); see also Mack. 798 F.2d at 1282 (on a
        motion to dismiss, a court may properly look beyond the complaint to matters of
        public record).

        The case relied on. Mack v. South Bav Beer Distributors. Inc.. 798 F.2d 1279, 1282 (9th

 Cir. 1986) was only about "state administrative records" and states:

        South Bay requested the district court to take judicial notice of the state
        administrative records attached to the motion to dismiss as exhibits. ... a court may
        take judicial notice of facts outside the pleadings. Sears. Roebuck & Co. v.
        Metropolitan Engravers. Ltd.. 245 F.2d 67, 70 (9th Cir.1956); 5 C. Wright & A.
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         Miller, Federal Practice & Procedure, Sec. 1363 at 659-60(1969).[footnote: Mack,
         himself, relied on this precedent in requesting the district court to take judicial
         notice of the same administrative records in opposing the motion to dismiss his
         pendent state law claim.] Moreover, a court may take judicial notice of"records and
         reports of administrative bodies." Interstate Natural Gas Co. v. Southern California
         Gas Co.. 209 F.2d 380,385 (9th Cir.1953).

         Heflin relies on Grant v. Aurora Loan Servs.. Inc.. No. CV 09-08174, 20 2010 WL

  3517399, at *3 (C.D. Cal. Sept. 10, 2010)(citing numerous cases where the court took judicial
  notice of assignments of deeds of trust, notices of default, and notices of trustee's sale). Grant (in
  which there was no dispute about the trustee's deed, and the other documents noticed were
  certificates of incorporation, certificates of good standing, and lists of corporate officers) relies on
  14.02 Acres, and states:

         Aurora requests that the court take judicial notice of the following documents: the
         trustee's deed on sale for the Woodland Hills property, the Federal Stock Charter
         for Lehman Brothers Bank FSB, the Office of Thrift Supervision's Order
         Approving Aurora Loan Services as an Operating Subsidiary of Lehman Brothers
         Bank,the Secretary's Certificate attesting that Lehman Brothers Bank FSB changed
         its name to Aurora Bank FSB, a certification by the Delaware Secretary ofthe State
         authenticating the certificate of incorporation for Aurora Loan Services Inc., filed
         May 15,1997, Aurora's certificate ofconversion from a corporation to an LLC,and
         a certificate ofamendment changing Aurora's Certificate of Formation to reflect its
         designation as a limited liability company.

         The IGrantl court likewise takes judicial notice ofthe documents defendants proffer
         regarding Aurora's incorporation and conversion to an LLC - the Federal Stock
         Charter for Lehman Brothers Bank FSB, the Office of Thrift Supervision's Order
         Approving Aurora Loan Service as an Operating Subsidiary of Lehman Brothers
         Bank,the Secretary's Certificate attesting that Lehman Brothers Bank FSB changed
         its name to Aurora Bank FSB, the certification by Delaware Secretary of State
         authenticating the certificate of incorporation for Aurora Loan Services Inc. filed
         May 15,1997, Aurora's certificate of conversion from a corporation to an LLC,and
         the certificate of amendment recording the change of Aurora's corporate form and
         designation in its Certificate of Formation. See FED. R. EVID. 201(b)(stating that
         "[a]judicially noticed fact must be one not subject to reasonable dispute in that it is
         . . . capable of accurate and ready determination by resort to sources whose
         accuracy cannot reasonably be questioned"); see also McCall v. Scott. 239 F.3d
         808, 814 n. 3(6th Cir. 2001)("[W]e take judicial notice of the Restated Certificate
         of Incorporation"); McMichael v. U.S. filter Corp.. No. ED CA 99-182VAP, 2001
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         WL 418981, *8(C.D. Cal. Feb. 23, 2001)(taking judicial notice of a certificate of
         incorporation filed in Delaware); Redding v. Freeman Products. Inc.. No. 94 C 398,
         1995 WL 410922, *2(N.D. 111. July 10, 1995)(taking judicial notice of certificates
         of good standing filed with the Illinois Secretary of State); Access 4 All v. Oak
         Soring. Inc.. No. 504CV75OCGRJ, 2005 WL 1212663, *2 n. 16 (M.D. Fla. May
        20, 2005)(taking judicial notice of the records of the Florida Department of State,
        Division of Corporations, which reflected that one plaintiff was an officer and
        director of the other); In re Teledvne Defense Contracting Derivative Litigation.
        849 F.Supp. 1369, 1383 (C.D. Cal. 1993) (stating that "[pjlaintiffs' claim for
        negligent breach of fiduciary duty against the Directors is barred by the
        Corporation's Certificate of Incorporation (of which this Court may take judicial
        notice)"); see also Banks v. Consumer Home Mortgage. Inc.. No. Ol-CV-8508
        (ILG), 2003 WL 21251584, *6 n. 7(E.D.N.Y. Mar. 28, 2003)("Plaintiffs submitted
        a public record on file with the Secretary of State for Georgia, where CHM lists
        Michael Ashley as the Chief Financial Officer of CHM.This Court can take judicial
         notice ofthis official filing by CHM").

         Footnote 37 of Grant states:

         As the complaint refers to or necessarily relies on records related to the sale of
         plaintiffs property, and as neither party disputes the authenticity of the records,
         they may also be considered under the incorporation by reference doctrine.


  DOCUMENTS ARE NOT FACTS

         Defendants have requested the Court to take judicial notice, not merely of"facts"(F.R.E.
  201), but of documents. See Crawford v. Countrvwide Home Loans. Inc.. 647 F.3d 642 (7th Cir.
  July 21, 2011) (judicial notice declined because the movants "sought judicial notice not of
  particular discrete facts, but of a number of whole documents.") Yet Defendants do not explain
  what factual propositions are supposed to be supported by these documents.

         The Court may take judicial notice of the existence of documents in the public record, and

  ofthe language ofthose documents. The Court may not, however, at this stage, take judicial notice

  ofthe truth or falsity ofthe contents ofthose documents.

         The Federal Rules of Evidence, Rule 201(b)states:

                The court may judicially notice a fact that is not subject to reasonable
                                                                                                 11
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           dispute because it:
                  (1)is generally known within the trial court's territorial jurisdiction; or
                  (2) can be accurately and readily determined from sources whose accuracy
           cannot reasonably be questioned.

           The existence and language of the documents within the public record can be accurately

  and readily determined by consulting the records maintained by their official custodian.

           Long before the effective date ofthe Federal Rules, a controversy raged on whetherjudicial

  notice of adjudicative facts should be confined to substantially indisputable facts or to facts that are

  unlikely to be disputed. Even the evidence greats were divided on the issue: Professors Morgan

  and McCormick argued that judicial notice should be confined to indisputables' while Professors
  Thayer, Wigmore, and Davis contended that judicial notice should extend to facts that are

  somewhat less absolute.^ Both sides muster cogent arguments to support their positions and both

  contend that the weight of existing case law supports their views.^ A substantial split also exists
  among the states on this issue.'' In providing that "[a] judicially noticed fact must be one not
  subject to reasonable dispute,"^ the Federal Rules followed the Morgan-McCormick view

  requiring substantial indisputability. The Advisory Committee's note on the federal rule stated that

  this more stringent standard was based upon "the theory that these considerations call for


  'See MCCORMICK'S HANDBOOK I, supra note 9, § 330, at 710-11 (taking issue with the Wigmore-Thayer view of
  judicial notice and arguing that "the weight ofreason and the prevailing authority" dictate thatjudicial notice be
  confined to indisputable facts); John T. McNaughton, Judicial Notice-Excerpts Relating to the Morgan-Wigmore
  Controversy, 14 VAND.L. Rev. 779, 779(1961)(noting that Morgan's view restricts judicial notice to "patently
  indisputable" matters).
  ^ See Kenneth C. Davis, A System of Judicial Notice Based on Faimess and Convenience, in PERSPECTIVES OF
  LAW 69(Roscoe Pound et al. eds., 1964), at 76-78(propounding the Wigmore-Thayer view and arguing that trial
  judges should entertain evidence which contradicts judicially noticed facts); McNaughton, supra note 48, at 805
  (concluding that the Wigmore-Thayer view allows courts to judicially notice matters which are "somewhat disputable
  but unlikely to be disputed").
  ^ See McNaughton,supra note 48, at 796 n,3.
   See Carla A. Neely, Note, Judicial Notice: Rule 201 ofthe Federal Rules of Evidence,28 U. FLA. L. Rev. 723,758
  nn.203-04(1976)(citing decisions ofseveral states).
  ^ FED. R. EVID. 201(b).
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  dispensing with traditional methods of proof only in clear cases."^
           In Knievel v. ESPN.393 F.3d 1068(9th Cir. 2005), the issue was whether a certain

  photograph and caption ofEvel Knievel, which included the word "pimp" and which was posted

  on ESPN's website, was defamatory- not whether the contents ofthe documents incorporated by

  reference were true.'

           Plaintiffs hereby question the authenticity of all of Defendants' profferred documents.

            The court should at most take judicial notice ofthe existence of Defendant's documents

  and ofthe language used, but should not assume the truth ofany of their contents.

            The key portion of Lee v. Citv of Los Angeles. 250 F.3d 668,689(9th Cir.2001)

  (explaining that a court may judicially notice matters of public record unless the matter is a fact

  subject to reasonable dispute) is:

           In granting defendants' motions, the court assumed the existence offacts that favor
           defendants based on evidence outside plaintiffs' pleadings,took judicial notice of
           the truth of disputed factual matters, and did not construe plaintiffs' allegations in
           the light most favorable to plaintiffs. We therefore also reverse the district court's
           dismissal of plaintiffs'§ 19S3 claims alleging violations ofthe First, Fourth, and
            Fourteenth Amendments on these independent grounds....

            Here, defendant NYSDCS attached several exhibits to its motion to dismiss,
            including declarations from three NYSDCS employees....

            In granting defendants' motions to dismiss,... the court stated "this case apparently
            presents the relatively unique situation ofan innocent person who attempted to pass
            himself off as an escaped prisoner." Neither the Original Complaint nor the First
            Amended Complaint contain any allegation that Kerry Sanders ever told anyone
            that he was Robert Sanders, let alone that he wanted to pass himself off as Robert
            Sanders. Thus,for purposes ofthe Rule 12(b)(6) motions to dismiss, there was no
            basis for the district court to make the factual finding that Kerry Sanders "attempted
            to pass himself off as [the] escaped prisoner" Robert Sanders.

 ^ FED. R. BVID. 201 advisory committee's note, subdiv.(b).
 ' tCnievel is "an odd case for a court to cite for the proposition that it could take judicial notice when(a)the majority
  didn't explicitly take judicial notice; and(b)the dissent had a pretty good argument that the majority could not have
  taken judicial notice." -Asst. Prof. Colin Miller, John Marshall School ofLaw (Chicago)
                                                                                                                             13
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         ... the district court also erred by taking judicial notice of disputed matters. The
         court took judicial notice oftwo documents:(1)the Waiver of Extradition form,
         according to which Kerry Sanders purportedly "intelligently, knowingly, and
         voluntarily" waived his right to challenge his extradition and admitted being Robert
         Sanders; and (2)the transcript ofthe extradition hearing at which Kerry Sanders
         stated that he purportedly understood the rights he was giving up by signing the
         waiver.

         ... the district court had authority under Rule 201 to take judicial notice ofthe fact
         ofthe extradition hearing, the fact that a Waiver of Extradition was signed by Kerry
         Sanders, and the fact that Kerry Sanders purportedly waived his right to challenge
         his extradition to New York as "Robert Sanders."

         But the court did more than take judicial notice of undisputed matters of public
         record. The court took judicial notice of disputed facts stated in public records.
         Indeed,the court relied on the validity of Kerry Sanders's Waiver of Extradition in
         dismissing plaintiffs' § 1983 claims at the pleading stage. As the district court
         stated:"Sanders personally waived his right to contest extradition and informed the
         court and counsel that he was, in fact, the Robert Sanders sought in New York." ...

         Here, the district court incorrectly took judicial notice ofthe validity ofKerry
         Sanders's waiver, which was as yet unproved....

         Accordingly, we hold that the district court erred in granting the City's motion to
         dismiss plaintiffs' § 1983 claims under the First, Fourth, and Fourteenth
         Amendments by relying on extrinsic evidence and by taking judicial notice of
         disputed matters offact to support its ruling.

  The disputed facts in Lee were whether Kerry Sanders' waiver was valid. There is no

  indication that the Lee plaintiff disputed any ofthose facts. Therefore, Lee contradicts the

  principle urged by Defendants: thatjudicial notice supposedly must be taken unless the

  opposing party puts some contrary evidence before the court—^within the time limit for a

  response to a motion and without opportunity for discovery, no less.

         The Memorandum states on page 10:

         Based on the allegations raised in the current Complaint,there is no question that
         the Plaintiffs are asserting claims arising from the same property and mortgages that
         were at issue in the First Lawsuit and the Second Lawsuit.
                                                                                                     14
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  However, the standard is not whether the "property and mortgages" are the same, but whether the

  facts are the same(and the property is NOT the same, as the legal description is different).

            The Memorandum states on page 24:

            The Plaintiffs' allegations in the current Complaint indicate that they are trying to
            create new causes of action by continuing to dispute the same debt and re-raise the
            same issues that they lost in their prior two lawsuits.

  It is true that Plaintiff continued to dispute the same debt. However, Defendants could have

  properly responded to Plaintiffs' dispute letters. They did not. Instead, Defendants committed fresh

  violations ofthe FDCPA,and Plaintiffs complain within the one-year statute of limitations. See

  398-403(violation committed 30 days after November 7,2017).

            The Memorandum states on page 27:

            As to the purportedly fraudulent letters sent by Chase,Plaintiffs failed to identify
            the dates ofthe specific letters that they claim were unfair or deceptive because they
            were sent under the pseudonym "Chase."

  However,the Complaint at 1352(and Exhibit D)identifies October 16,2017; atf 355(and

  Exhibit F)identifies November 20,2017; atf 356(and Exhibit G)identifies December 11,2017.

            The Memorandum states on page 27:

            Because the Plaintiffs have been receiving letters from Chase about their account
            since at least February 3,2010, any UDAP claim arising from Chase's efforts to
            communicate with the Plaintiffs should have been brought by February 3,2014.

  However,the UDAP does not lump all correspondence together the way Defendants wish it would,

  in such a way that the statute of limitations for all future correspondence is set in stone by the first

  letter.


            The Memorandum states on page 27:

            ... the Plaintiffs' claims also fail because they have not demonstrated how Chase
                                                                                                        15
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         sending them letters violates Chapter 480.


  However,the use offake names(such as"CHASE")to write letters ofthe type alleged is clearly

  immoral, unethical, oppressive, and unscrupulous, and causes substantial injury to consumers.

         The Memorandum states on page 29:

         Thus, Plaintiffs do not and cannot dispute that the loan at issue in this case was, at
         the latest, in place or consummated by March 6,2006.

  However, a loan is "consummated" when the funds are disbursed from the party identified as the

  lender to the party identified as the borrower. There is no allegation in the Complaint as to when

  this occurred, or even THAT it occurred; see     60-61,93, 171,173, 186-188,230-232; see also

  226-228.


         The Memorandum states on page 30:

         Plaintiffs do not cite to any specific statutory or contractual provision that requires
         the Defendants to provide them an accounting.

  However, a Complaint need not cite law. A Complaint need only state facts. See Conlev v. Gibson

  (as amended).


                                            CONCLUSION

         The Complaint states a claim upon which relief can be granted. The Motion should be

  denied.


         In the alternative and without waiving the foregoing, leave to amend should be given,

  because amendment would NOT be futile as there are facts which Plaintiffs have yet to allege

  (including facts showing that the Assignment is void—^which facts certainly could not have been

  alleged in the Second Lawsuit which was filed before the Assignment existed—^as well as the fact

                                                                                                       16
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  that the address for U.S. Bank given in the Assignment is the address of"JPMorgan Chase Bank,

  N.A." in the records ofthe New York City Department of Finance®—as well as facts yet to be

  discovered), and in a subsequent Complaint, Plaintiffs would clarify that the [164] Order in the

  Second Case, concluding that US Bank is the mortgagee and granting Summary Judgment on the

  Quiet Title claim against US Bank, is void, and that the Sixth Cause of Action requests the Court

  to vacate it.



  Executed on this     day of June, 2018.



                                                         Donna Mae Amina, Pro Se




                                                         Melvin Keakaku Am ma. Pro Se




   That address is: 700 Kansas Lane MC 8000, Monroe,LA 71203
                                                                                                      17
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                                   CERTIFICATE OE SERVICE


         The undersigned hereby certifies that on the following date, I served a copy ofthe

  foregoing on the following parties by fax and/or U.S. first class mail:

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  WMC2,ASSET-BACKED PASS-THROUGH CERTIFICATES,
  SERIES 2006-WMC2; J.P. MORGAN SECURITIES INC.;
  MERSCORP HOLDINGS,INC.; and MORTGAGE ELECTRONIC
  REGISTRATION SYSTEMS,INC.


  DATED: June 7, 2018
                                                       Kanani Amina




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